Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 1 of 135            FILED
                                                                   2018 Apr-02 AM 10:51
                                                                   U.S. DISTRICT COURT
                                                                       N.D. OF ALABAMA




                EXHIBIT A
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 2 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 3 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 4 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 5 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 6 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 7 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 8 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 9 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 10 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 11 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 12 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 13 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 14 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 15 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 16 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 17 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 18 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 19 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 20 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 21 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 22 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 23 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 24 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 25 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 26 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 27 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 28 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 29 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 30 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 31 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 32 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 33 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 34 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 35 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 36 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 37 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 38 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 39 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 40 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 41 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 42 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 43 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 44 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 45 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 46 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 47 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 48 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 49 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 50 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 51 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 52 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 53 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 54 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 55 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 56 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 57 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 58 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 59 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 60 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 61 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 62 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 63 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 64 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 65 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 66 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 67 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 68 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 69 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 70 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 71 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 72 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 73 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 74 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 75 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 76 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 77 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 78 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 79 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 80 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 81 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 82 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 83 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 84 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 85 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 86 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 87 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 88 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 89 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 90 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 91 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 92 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 93 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 94 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 95 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 96 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 97 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 98 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 99 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 100 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 101 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 102 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 103 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 104 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 105 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 106 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 107 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 108 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 109 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 110 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 111 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 112 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 113 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 114 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 115 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 116 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 117 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 118 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 119 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 120 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 121 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 122 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 123 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 124 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 125 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 126 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 127 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 128 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 129 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 130 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 131 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 132 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 133 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 134 of 135
Case 2:18-cv-00514-ACA Document 1-1 Filed 03/30/18 Page 135 of 135
